Case 2:20-cv-06052-JWH-KK Document 11 Filed 11/04/20 Page 1 of 1 Page ID #:52




 1
 2
 3                                                     JS-6
 4
 5
 6
                           UNITED STATES DISTRICT COURT
 7
                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9
10    JULIAN BALDERRAMA,                         Case No. CV 20-06052-JWH (KK)
11                              Plaintiff,
12                        v.                     JUDGMENT
13    CALIFORNIA DEPARTMENT OF
      CORRECTIONS AND
14    REHABILITATION,
15                              Defendant.
16
17
18         Pursuant to the Order Accepting Findings and Recommendation of United
19   States Magistrate Judge,
20         IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
21
22   Dated: November 4, 2020
23
                                             HONORABLE JOHN W. HOLCOMB
24                                           United States District Judge
25
26
27
28
